           Case 1:22-cr-00418-RDP-NAD Document 3 Filed 12/01/22 Page 1 of 1                 FILED
                                                                                   2022 Dec-01 PM 03:08
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA



 Memorandum



Subject                                                    Date
     Writ of Habeas Corpus
     U.S. v. Yasmine Marie Adel Hider                      December 1, 2022
     Case No. 1:22-CR-00418-RDP-NAD

                                                         /s/
To: Clerk of the Court                             From: Jonathan S. Cross
    Northern District of Alabama                         Assistant U.S. Attorney


      Please cause a Writ of Habeas Corpus Ad Prosequendum to be issued to the Clay

County Jail, Ashland, AL for Yasmine Marie Adel Hider, to appear before this court in

the above case for Arraignment on December 15, 2022, at 9:30am before Magistrate

Judge Nicholas A. Danella.



cc: USMS
